          Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 1 of 7




             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                    (Filed: July 24, 2017)

* * * * * * * * * * * * * *                    *       UNPUBLISHED
DEVIN BECK,                                    *
                                               *       No. 15-1355V
               Petitioner,                     *
                                               *
v.                                             *       Chief Special Master Dorsey
                                               *
SECRETARY OF HEALTH                            *       Meningococcal Vaccine; Acute
AND HUMAN SERVICES,                            *       Disseminated Encephalomyelopathy
                                               *       (“ADEM”).
               Respondent.                     *
                                               *
* * * * * * * * * * * * * *                    *

                                            DECISION1

       On November 12, 2015, Devin Beck (“petitioner”) filed a petition for compensation in
the National Vaccine Injury Program, 2 alleging that he suffered from acute disseminated
encephalomyelopathy (“ADEM”) as a result of the meningococcal vaccine he received on June
11, 2013. Petition at ¶¶ 2,8.

       On July 21, 2017, the parties filed a stipulation in which they stated that a decision should
be entered awarding compensation. Stipulation at ¶7. Respondent denies that the
meningococcal vaccine caused petitioner’s ADEM, or any other injuries. Stipulation at ¶6.




1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note
(2012)(Federal Management and Promotion of Electronic Government Services). As provided
by Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine Act” or “the Act”). All citations in this decision
to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                   1
           Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 2 of 7



       Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A.
The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $115,000.00, in the form of a check payable to petitioner, Mr. Devin
Beck. This amount represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a). Stipulation at ¶8.

      The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3


       IT IS SO ORDERED.

                                             s/Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Chief Special Master




       3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint
filing of notice renouncing the right to seek review.
                                                 2
Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 3 of 7
Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 4 of 7
Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 5 of 7
Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 6 of 7
Case 1:15-vv-01355-UNJ Document 61 Filed 08/18/17 Page 7 of 7
